         Case 5:17-cv-00675-CLS Document 1 Filed 04/26/17 Page 1 of 14                                                                              FILED
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                                                                                                                                           U.S. DISTRICT COURT
                                                                                                                                               N.D. OF ALABAMA

Pro Se General Complaint for a Civil Case fRey   1006)


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                                          United States District Court
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                                                                 for the
                                  NORTHERN DISTRICT OF ALABAMA                                                    U S OISTr-:ICT COlJHT
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Plaintiff                                                                     }
(Write your full name. No more than one plaintiffmay be named in a pro se     }
complaint}                                                                    }
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                                                                              }    Case No.:   ~:\l--LV'" (p l~-lt~D
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Defendant(s)                                                                  }
(Write the full name ofeach defendant who is being SUl!d If the names ofall
defendants canna fit in the space aboye or on page 2. please write "see       }
alJached" in the space and attach an additional page with the full list of    }
names)                                                                        }




                                                 COMPLAINT FOR A CIVIL CASE

I. 	       The Parties to This Complaint

          A. 	          The Plaintiff 

                        Name 

                        Street Address
                        City and County
                        State and Zip Code
                        Telephone Number

           B. 	         The Defendant(s)

                        Provide the information below for each defendant named in the complaint,
                        whether the defendant is an individual, a government agency, an organization or a
                        corporation. If you are suing an individual in hislher official capacity, include the
                        person's job or title. Attach additional pages ifneeded.


                                                              Page 1 of7
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Pro Se Geperal CprnWajgt for a Civi' Case <Rey 1006)




          Defendant No. 1
                Name                                                     >

                     Job or Title                      1(~;   I   M~'rctv.ntlr~
                     Street Address
                     City and County                   ~v~/Je             ~       

                     State and Zip Code 





          Defendant No.2
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code                bA-           ~/2.lb



          Defendant No.3
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code




          Defendant No.4
                Name
                     Job or Title
                     Street Address
                     City and County
                     State and Zip Code




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pro SF General Complaipt tOr A Ciyil CaSS (Rex 10116)




          Defendant No.5
                Name
                     Job or Title
                     Street Address
                     City and County 

                     State and Zip Code 


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only these
          types of cases can be heard in federal court: a dispute that involves a right in the United
          States Constitution or a federal law (as opposed to a state law or local ordinance); a
          dispute that involves the United States of America (or any of its agencies, officers or
          employees in their official capacities) as a party; and a dispute between citizens of
          different states with an amount in controversy that is more than $75,000.

          What is the basis for federal court jurisdiction? (check all that apply)

           ~nstitutional or Federal Question                      0 USA Defendant 0 Diversity of citizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction is USA defendant
                     The Defendant(s) 

                     NameofAgency _____________________________________________ 


                     Address _________________________________________________


          B.         If the Basis for Jurisdiction is a Constitutional or Federal Question
                     List the specific federal statutes, federal treaties, and/or provisions of the United
                     States Constitution that are at issue in this case .
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Pro Se General Complaint for a Ciyil Case fRey 10116)




          C.         If the Basis for Jurisdiction is Diversity of Citizenship

                     1. The Plaintiff
                          The plaintiff, (name)_ _ _ _ _ _ _ _ _ _ _ _-',                IS    a citizen of the
                          Smreof~am~       __________________________

                     2. The Defendant(s)
                          a. If the defendant is an individual
                                The defendant, (name)____________---',                   IS    a citizen of the
                                Smte of (name)                               Or is a citizen of
                                (foreign nation) _ _ _ _ _ _ _ _ _ _ _ _____

                          b. If the defendant is a corporation

                                The defendant, (name)___________-', is incorporared under
                                the laws of the Smre of (name)                                   , and has its
                                principal place of business in the State of (name) _______________.

                                Or      IS      incorporated   under   the   laws   of        (foreign   nation)
                                                                 and has its principal place of
                                business in (name) _ _ _ _ _ _ _ _ _ _ __

                          (If more than one defendant is named in the complaint, attach an additional
                          page providing the same informationfor each additional defendantJ

                     3.         The Amount in Controversy

                                The amount in controversy - the amount the plaintiff claims the defendant
                                owes or the amount that is at smte - is more than $75,000, not counting
                                interest and costs ofcourt, because: (explain)




01.       Statement of Claim


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Pro Se General Complaipt   for' CiYiI Case <Rey 101]6)


          Write a short and plain statement of the claim. Briefly state the fucts showing that the
          plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the
          plaintiffs rights, including the dates and places of that involvement or conduct. If more
          than one claim is asserted, munber each claim and write a short and plain statement of
          each claim in a separate paragraph. Attach additional pages ifneeded.




IV.       Relief

          State briefly and precisely what damages or other relief the plaintiff asks for the court to
          order. Include any basis for claiming that the wrongs alleged are continuing at the present
          time. Include the amounts of any actual damages claimed for the acts alleged and the
          basis for these amounts. Include any punitive (punishment) or exemplm:y (warning or
          deterrent) damages claimed, the amounts, and the reasons you claim you are entitled to
          actual or punitive money damages.




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Pro Se ('repeml ComplAint for A Ciyil CAse <Rev ] OJ] 6)




v.         Certification and Closing

           Under Rule 11 of the Federal Rules of Civil Procedure. by signing below, I certify to the
           best of my knowledge, information, and belief that this complaint; (I) is not being
           presented for an improper purpose, such as to harass, cause unnecessary delay, or
           needlessly increase the cost of litigation; (2) is supported by existing law or by a non­
           frivolous argument for extending, modifying or reversing existing law; (3) the factual
           contentions have evidentiary support or, if specifically so identified, will likely have
           evidentiary support after a reasonable opportunity for further investigation or discovery;
           and (4) complies with the requirements of Rule 11.


I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result in dismissal of my case.

First Name             7aNh~t&L                              Last Name     -:roL~
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Mailing Address               t~ (     ?f':' ~ VI e-W ~                    

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Signature of plaintiff               ~"l. r.                fl1- ~/~
Date signed              ~ ({I'D ( I --;

"'OPTIONAL''''''

You may request to receive electronic notifications. You may not file documents or
communicate with the court electronically. All documents must be submitted in paper and you
must serve the defendants.

Type of personal computer and related software/equipment required:

     •     Personal computer running a standard platform such as Windows or Mac OSX
     •     Internet access (high speed is recommended)
     •     A Web browser (Microsoft Internet Explorer 7.0 or 6.0 or Mozilla Firefox 2 or 1.5)
     •     Adobe Acrobat Reader is needed for viewing e-filed documents
     •     PACER account Information and registration at www.pacer.gov

                                                           Page 6 of7
         Case 5:17-cv-00675-CLS Document 1 Filed 04/26/17 Page 13 of 14


Pro SF General Complaint for a Ciyil Case fRey 10(16)




     • You will receive one "free" look of the document. Documents must be viewed within 14
       days. You must only single-click on the hyperlink to view.
Note: You must promptly notice the Clerk's Office. in writing, if there is a change in your
designated ~mail address. Failure to update your email address does not excuse failures to
appear or timely respond.
E·mail type:
             o HTML - Recommended for most ~mail clients
             o Plain Text - Recommended for e-mail accounts unable to process HTML e-mail
Conditioned upon the sufficiency of your electronic equipment which the court will test and
verify receipt, you will be allowed to receive electronic notifications.

By submitting this request, the undersigned consents to electronic service and waives the right to
personal service and service by first class mail pursuant to Rule 5(bX2) of the Federal Rules of
Civil Procedure, except with regard to service of a summons and complaint.

When a filing is entered on the case docket, a party who is registered for electronic noticing will
receive a Notice of Electronic Filing in hislher designated e-mail account. The Notice will allow
one free look at the document, and any attached .pdfmay be printed or saved.

IMPORTANT:

Messages sent to Yahoo or AOL accounts are frequently found in the spam folder until the court
is added to your address book.


E-mail address designated for noticing:
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Participant signature: _ _ _ _-r-______________________


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